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UNITED STATES 1315ch COURT SOUTHERN DISTRICT OF TEXAS
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/.14 417 . § 4
versus § CivilAction 5 64 ~ 276)?
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Conference Memoranclum

Representin ' ' _
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Date: D€(f/hk)br` Oil umbch Reporter:

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At the conference, these rulings Were made:

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caan iep \:¢13@;|;’1~7. The plcmr/HL mail He i§\ezr reagan

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ig Orcler to be entered.

i:i Trialpreparation to be completed by: t , 200__.

E A Pretrial conference is set for: lO § goa~n{.gn §bj\ua_r:.; 15 , lzgl__p_

i:i A hearing is set for: on v , 200___

i:i A trial is set for : on , 200__

i:l Bench |:i Jury U§stimatecl time at 5.5 hours a clay ). h

i:] loth Pretrial Order due: y , 2.00___

i:i Iriternal review deadline , 200

 

Lyim N. Hughes /
United States District]udge

